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 6
     Attorneys for Defendants
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 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                       SAN JOSE DIVISION
11

12 ELIZABETH WEISS,                                  Case No. 5:22-cv-00641-BLF

13                 Plaintiff,                        REVISED STIPULATION TO EXTEND
                                                     BRIEFING SCHEDULE; DECLARATION
14          vs.                                      OF BRYAN H. HECKENLIVELY IN
                                                     SUPPORT OF REVISED STIPULATION;
15 STEPHEN PEREZ, in his official capacity as        [PROPOSED] ORDER
   President of San Jose State University; et al.,   (LOCAL RULE 6-2)
16
                  Defendants.                        Judge:    Hon. Beth Labson Freeman
17                                                   Date:     October 13, 2022
                                                     Time:     9:00 a.m.
18                                                   Crtrm.:   3, 5th Floor
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                                                                   Case No. 5:22-cv-00641-BLF
           REVISED STIPULATION TO EXTEND BRIEFING SCHEDULE; DECLARATION ISO REVISED
                                 STIPULATION; [PROPOSED] ORDER
      Case 5:22-cv-00641-BLF Document 86 Filed 06/22/22 Page 2 of 5




 1 IT IS HEREBY STIPULATED BY AND BETWEEN THE PARTIES THAT:

 2      1. Because Plaintiff’s First Amended Complaint differs materially from her original
 3         complaint, and because the Court’s first available hearing date for a motion to dismiss
 4         the First Amended Complaint is October 13, the parties have agreed to the following
 5         briefing schedule for Defendants’ anticipated motion to dismiss to permit them
 6         additional time to brief the issues without delaying the Court’s hearing or consideration
 7         of the motion:
 8             a. Defendants may have until and including July 6, 2022, to file their motion to
 9                 dismiss Plaintiff’s First Amended Complaint.
10             b. Plaintiff may have until and including August 4, 2022, to file her opposition to
11                 Defendants’ motion to dismiss her First Amended Complaint.
12             c. Defendants may have until and including August 18, 2022, to file their reply
13                 brief in support of their motion to dismiss Plaintiff’s First Amended Complaint.
14      2. Today, June 22, 2022, the parties were able to re-reserve October 13 as the hearing date
15         for the motion to dismiss. This is no earlier than 14 days prior to the proposed filing
16         date for Defendants’ motion to dismiss of July 6, 2022, in compliance with this Court’s
17         Standing Order re Civil Cases § III.A and June 17, 2022 Order, ECF. No. 84.
18      3. This is the first extension of time for these briefs. Defendants previously received a
19         brief extension to file their motion to dismiss the original complaint and their
20         opposition to the preliminary injunction motion, ECF No. 23, as well as to file their
21         reply brief in support of their motion to dismiss. ECF No. 39. Plaintiff previously
22         received a brief extension to file her reply brief in support of her motion for a
23         preliminary injunction, and to file her opposition to Defendants’ motion to dismiss.
24         ECF No. 39.
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                                            -1-                  Case No. 5:22-cv-00641-BLF
                     REVISED STIPULATION TO EXTEND BRIEFING SCHEDULE
        Case 5:22-cv-00641-BLF Document 86 Filed 06/22/22 Page 3 of 5




 1 DATED: June 22, 2022                  MUNGER, TOLLES & OLSON LLP

 2                                       By: /s/ Bryan H. Heckenlively
 3                                            BRYAN H. HECKENLIVELY
                                         Attorneys for Defendants
 4
     DATED: June 22, 2022                DANIEL M. ORTNER
 5                                       ETHAN W. BLEVINS
                                         Pacific Legal Foundation
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 7                                       By:   /s/ Daniel M. Ortner
                                              DANIEL M. ORTNER
 8                                       Attorneys for Plaintiff
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                      REVISED STIPULATION TO EXTEND BRIEFING SCHEDULE
        Case 5:22-cv-00641-BLF Document 86 Filed 06/22/22 Page 4 of 5




 1                                     FILER’S ATTESTATION
 2          I, Bryan H. Heckenlively, am the ECF user whose identification and password is being used

 3 to file this Stipulation and Proposed Order to Extend Time pursuant to Civil Local Rule 5-1(h). I

 4 hereby attest that the above-named signatories concur in and authorize this filing.

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 6                                               _____/s/ Bryan H. Heckenlively________
                                                        BRYAN H. HECKENLIVELY, No. 279140
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                         REVISED STIPULATION TO EXTEND BRIEFING SCHEDULE
        Case 5:22-cv-00641-BLF Document 86 Filed 06/22/22 Page 5 of 5




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 6                                          PROPOSED ORDER
 7         PURSUANT TO STIPULATION, IT IS ORDERED THAT:

 8         a.        Defendants may have until and including July 6, 2022 to file their motion to

 9 dismiss Plaintiff’s First Amended Complaint.

10         b.        Plaintiff may have until and including August 4, 2022 to file her opposition to

11 Defendants’ motion to dismiss her First Amended Complaint.

12         c.        Defendants may have until August 18, 2022 to file their reply brief in support of

13 their motion to dismiss Plaintiff’s First Amended Complaint.

14         d.        The motion will be heard on October 13, 2022 at 9:00 a.m. if filed on or before July

15 6, 2022.

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               22 2022
17 Dated June ____,                                   _____________________________________
                                                      THE HON. BETH LABSON FREEMAN
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                                                 -1-                   Case No. 5:22-cv-00641-BLF
                [PROPOSED] ORDER ON REVISED STIPULATION TO EXTEND BRIEFING SCHEDULE
